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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            2:22-CV-12079-PDB-DRG

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for FORD MOTOR COMPANY, A DELAWARE LIMITED LIABILITY COMPANY
 was recieved by me on 9/07/2022:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on The Corporation Company, who is designated by law to accept service of process on behalf
          X
                                    of FORD MOTOR COMPANY, A DELAWARE LIMITED LIABILITY COMPANY09/08/2022; or


                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   09/09/2022
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                  Server's signature



                                                                                                                                                 Aaron Edwards
                                                                                                                                                 Printed name and title



                                                                                                            13081 Rawsonville Rd
                                                                                                            Belleville, MI 48111


                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to The Corporation Company, RA with identity confirmed by subject stating their name. The
           individual accepted service with direct delivery. The individual appeared to be a blonde-haired white female contact
           45-55 years of age, 5'4"-5'6" tall and weighing 140-160 lbs.




                                                                                                                                                               Tracking #: 0093082383
